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16
                                  UNITED STATES DISTRICT COURT
17
                                CENTRAL DISTRICT OF CALIFORNIA
18

19     IN RE: NATIONAL FOOTBALL                      Case No. 2:15-ml-02668−PSG (JEMx)
20
       LEAGUE’S “SUNDAY TICKET”                      MEMORANDUM IN SUPPORT
       ANTITRUST LITIGATION                          OF THE NFL DEFENDANTS’
21     ______________________________                MOTION FOR SUMMARY
                                                     JUDGMENT
22
       THIS DOCUMENT RELATES TO:                     Judge: Hon. Philip S. Gutierrez
23                                                   Date: October 27, 2023
       ALL ACTIONS
24                                                   Time: 1:30 p.m.
                                                     Courtroom: First Street Courthouse
25
                                                                350 West 1st Street
26                                                              Courtroom 6A
                                                                Los Angeles, CA 90012
27

28
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 1                                           INTRODUCTION
 2              While Plaintiffs have often invoked the Ninth Circuit’s pleading-stage opinion
 3   in this case, the claims they now pursue are irreconcilable with the representations
 4   that they made to secure that ruling, fall well outside that ruling’s scope, and depend
 5   on invalidating lawful and economically rational activity. For this case to proceed,
 6   Plaintiffs must have admissible evidence supporting valid and cognizable theories of
 7   antitrust liability. After months of discovery—involving the production of hundreds
 8   of thousands of documents and dozens of depositions—Plaintiffs have none.
 9              In its ruling, the Ninth Circuit relied on Plaintiffs’ representations that that they
10   were challenging the interaction of only two agreements—(i) a purported horizontal
11   agreement among the NFL clubs and the NFL to pool telecast rights to NFL games,
12   and (ii) a vertical agreement in which the NFL exclusively licensed to DirecTV the
13   right to distribute broadcasts of games that are not shown on free over-the-air
14   television (“Sunday Ticket”). The Ninth Circuit understood Plaintiffs were not
15   challenging the NFL’s separate licensing agreements with CBS and FOX regarding
16   the production and telecast of free Sunday afternoon broadcasts. In re Nat’l Football
17   League’s Sunday Ticket Antitrust Litig. (“Sunday Ticket”), 933 F.3d 1136, 1149 n.4,
18   1156 (9th Cir. 2019). For good reason: Those agreements—the cornerstone of the
19   NFL’s unique, pro-consumer broadcast model—are immune from antitrust scrutiny
20   under the Sports Broadcasting Act (“SBA”).
21              Having evaded dismissal, Plaintiffs now tell a very different story. Their
22   lawsuit encompasses:
23               A challenge not just to Sunday Ticket, but to the entire broadcasting
24                   structure for NFL Football, see SUF1 ¶¶ 93–96, which in its current form is
25                   one of the most consumer-friendly entertainment products in the world;
26

27
     1
28    Statement of Uncontroverted Facts in Support of the NFL Defendants’ Motion for
     Summary Judgment, filed along with this Motion.
                                                       1
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 1            The elimination or evisceration of the NFL’s agreements with CBS and
 2                FOX, SUF ¶¶ 109–28, which enable fans to receive multiple Sunday
 3                afternoon NFL telecasts, including all of their local teams’ games, on free
 4                over-the-air-television, SUF ¶¶ 42, 86—unlike in any other professional
 5                sport, SUF ¶ 87;
 6            Alterations to the NFL’s media model such that
 7                                                              , SUF ¶¶ 103, 111, injuring the vast
 8                majority of NFL fans—who are part of the alleged relevant market but do
 9                not subscribe to Sunday Ticket;
10           
11                                        , Kilaru Decl. Ex. 30 (Elhauge Rpt.) ¶ 26; Kilaru Decl. Ex.
12                2 (Elhauge Dep. Tr.) 37:10–16, 42:7–15, on the new, unfounded theory that
13                the antitrust laws                                                                               that
14                has contributed to the quality and popularity of the NFL; and
15                                                                                                  , SUF ¶ 102.
16   The sheer breadth of the conduct Plaintiffs are challenging underscores how different
17   their case is today from what they told the Ninth Circuit it was and would be.
18           The Court should not sanction Plaintiffs’ bait and switch. Undisputed evidence
19   shows that Plaintiffs’ claims have no support in the law or the record.
20           First, the SBA bars Plaintiffs’ claims. Contrary to their position before the
21   Ninth Circuit, Plaintiffs are directly challenging the NFL’s broadcast agreements
22   with CBS and FOX. Indeed, all of their theories of injury and damages depend on
23   eliminating or fundamentally altering those agreements. But those agreements cannot
24   be challenged or altered consistent with the SBA. This flaw bars all of Plaintiffs’
25   claims and warrants entry of judgment for the NFL Defendants.
26           Second, the evidence conclusively shows that it is impossible to produce NFL
27   telecasts without the cooperation of the teams and the NFL. Plaintiffs thus cannot
28   satisfy the essential antitrust element of “concerted action” between actual or
                                                           2
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  1   potential competitors. As Justice Kavanaugh noted earlier in this case, “antitrust law
  2   likely does not require that the NFL and its member teams compete against one
  3   another with respect to television rights” because “[t]he NFL and its member teams
  4   operate as a joint venture.” Nat’l Football League v. Ninth Inning, Inc., 141 S. Ct.
  5   56, 57 (2020) (statement respecting denial of certiorari). This failure of proof bars
  6   Plaintiffs’ challenges to the cooperation between the NFL and its member clubs—in
  7   other words, their challenges to the alleged “horizontal” or “pooling” conduct—and
  8   compels entry of judgment for the NFL Defendants as to such conduct.
  9           Third, Plaintiffs have failed to identify a genuine issue of material fact
 10   regarding their standing to bring damages claims against the NFL and its member
 11   clubs. The bright-line rule under Illinois Brick is that plaintiffs may seek damages
 12   only from the entity from which they purchased—here, DirecTV. At the pleading
 13   stage, the Ninth Circuit allowed Plaintiffs to avoid Illinois Brick and sue the NFL and
 14   its member clubs because Plaintiffs had alleged a single conspiracy between the NFL,
 15   its clubs, and DirecTV. But Plaintiffs have produced no evidence of such a
 16   conspiracy, precluding their claims for money damages.
 17           Fourth, based on the fundamental defects above, what Plaintiffs have left—if
 18   anything—is a challenge to the vertical agreement between the NFL and DirecTV
 19   (and now YouTube). But Plaintiffs cannot show that those agreements, standing
 20   alone, are anticompetitive. No principle of law suggests that the holder of intellectual
 21   property must license it to anyone who wants it.
 22           The Court should grant summary judgment in favor of the NFL Defendants.
 23                                        LEGAL STANDARD
 24           Under Rule 56(a) of the Federal Rules of Civil Procedure, a motion for
 25   summary judgment should be granted where there is “no genuine dispute as to any
 26   material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.
 27   P. 56(a). “[A] complete failure of proof concerning an essential element of the
 28   nonmoving party’s case” entitles the moving party to summary judgment. Celotex
                                                    3
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  1   Corp. v. Catrett, 477 U.S. 317, 323 (1986); see also Cleary v. News Corp., 30 F.3d
  2   1255, 1259 (9th Cir. 1994); Ferguson v. Greater Pocatello Chamber of Com., Inc.,
  3   848 F.2d 976, 981 (9th Cir. 1988) (affirming summary judgment where plaintiffs
  4   “presented no probative evidence of any illegal concerted activity”).
  5                                        ARGUMENT
  6   I.      Undisputed Record Evidence Shows That Plaintiffs’ Claims Are Barred
              By The Sports Broadcasting Act.
  7
              The Ninth Circuit’s ruling addressed a fundamentally different set of claims.
  8
      That court determined that Plaintiffs’ complaint adequately alleged an antitrust claim
  9
      based on the interrelationship of two alleged agreements: (i) a horizontal “Teams-
 10
      NFL Agreement” by which the NFL clubs allegedly agreed “to pool their telecasting
 11
      rights and give the NFL the authority to exercise those rights,” and (ii) a vertical
 12
      “NFL-DirecTV Agreement,” under which “the NFL allows DirecTV to obtain all of
 13
      the live telecasts produced by CBS and FOX, package those telecasts, and deliver the
 14
      bundled feeds to NFL Sunday Ticket subscribers.” Sunday Ticket, 933 F.3d at 1148.
 15
              The Ninth Circuit distinguished these alleged agreements from a third,
 16
      unquestionably lawful set of agreements—the “NFL-Network Agreement[s].” Under
 17
      those agreements, the NFL, acting as an agent for the clubs, licenses CBS and FOX
 18
      to “create a single telecast for every Sunday-afternoon NFL” game for free, over-the-
 19
      air broadcast. Id. at 1147–48. As “[t]he defendants argue and the plaintiffs do not
 20
      dispute . . . the NFL-Network Agreement[s] are covered by the [Sports Broadcasting
 21
      Act],” which affords those agreements antitrust immunity. Id. at 1149 n.4; see also
 22
      id. at 1147 (“the NFL’s collective sale of telecast rights to free, over-the-air television
 23
      networks was squarely covered by the SBA”); 15 U.S.C. § 1291.
 24
              Now, however, Plaintiffs rely on a challenge to the NFL-Network Agreements.
 25
      Kilaru Decl. Ex. 3 (Rascher Rpt.) ¶ 53; see also Kilaru Decl. Ex. 34 (Rascher Class
 26
      Rpt.) ¶ 50; Kilaru Decl. Ex. 35 (Zona Rpt.) ¶ 7; Kilaru Decl. Ex. 36 (Zona Class Rpt.)
 27
      ¶ 12;
 28

                                                    4
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  1                                        . Indeed, all of Plaintiffs’ liability theories depend on
  2   eliminating or altering those agreements. Because the SBA squarely protects those
  3   agreements from antitrust challenges, none of Plaintiffs’ claims can proceed.
  4           A.        The NFL-Network Agreements Are Exempt From Antitrust
                        Scrutiny.
  5
              The SBA grants antitrust immunity to agreements by the NFL and its clubs for
  6
      the sale or transfer of rights to free over-the-air telecasts of their football games:
  7

  8                     The antitrust laws . . . shall not apply to any joint agreement
                        by or among persons engaging in or conducting the
  9                     organized professional team sports of football . . . by which
 10                     any league of clubs participating in professional
                        football . . . sells or otherwise transfers all or any part of
 11                     the rights of such league’s member clubs in the sponsored
 12                     telecasting of the games of football . . . .
 13   15 U.S.C. § 1291. The NFL-Network Agreements fall squarely within that text. See
 14   U.S. Football League v. NFL, 842 F.2d 1335, 1347 (2d Cir. 1988); see also Shaw v.
 15   Dallas Cowboys Football Club, Ltd., 172 F.3d 299, 301–02 (3d Cir. 1999). Plaintiffs
 16   have not suggested otherwise. See Sunday Ticket, 933 F.3d at 1149 n.4.
 17           The SBA’s legislative history confirms that Congress specifically intended to
 18   protect the pooling of sports telecast rights to facilitate free over-the-air broadcasts.
 19   The “purpose of the legislation is to enable the member clubs of a professional
 20   football . . . league, to pool their separate rights in the sponsored telecasting of their
 21   games and to permit the league to sell the resulting package of pooled rights to a
 22   purchaser, such as a television network, without violating the antitrust laws.” S. Rep.
 23   No. 1087, 87th Cong., 1st Sess. at 1 (1961); see also WTWV, Inc. v. Nat’l Football
 24   League, 678 F.2d 142, 144 (11th Cir. 1982) (SBA provides “antitrust exemption”).
 25   Congress likewise envisioned that “[e]ach grant to a network will be exclusive; what
 26   the network owns, a team cannot show separately (without the network’s
 27   permission).” Chicago Pro. Sports Ltd. P’ship v. Nat’l Basketball Ass’n (“Bulls I”),
 28   961 F.2d 667, 670 (7th Cir. 1992) (Easterbrook, J.).
                                                        5
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  1           B.        Plaintiffs Are Improperly Attacking The SBA-Protected NFL-
                        Network Agreements.
  2
              All of Plaintiffs’ liability theories must be rejected because they each depend
  3
      on eliminating or eviscerating the NFL-Network Agreements. Plaintiffs’ lead
  4
      economist, Dr. Rascher, makes this plain.
  5

  6
                                              , id. ¶ 13(c);
  7
               , id. ¶¶ 89, 120, 122, 260;                                                                , id.
  8
      ¶¶ 29, 336.
  9
              By placing this challenge to the NFL-Network Agreements at the center of
 10
      their liability case, Plaintiffs seek to impose liability for conduct that is protected by
 11
      the SBA. That would violate the plain terms of the SBA, as well as the Supreme
 12
      Court’s decision in Comcast, which holds that class-wide models of injury and
 13
      damages may not be used to impose liability for lawful conduct as well as allegedly
 14
      unlawful conduct. Comcast v. Behrend, 569 U.S. 27, 37 (2013). Plaintiffs do not have
 15
      a valid liability case if their claims are predicated on terminating or altering
 16
      fundamental provisions of agreements that are immune from antitrust scrutiny. See
 17
      Comcast, 569 U.S. at 35, 37; see also Ohio v. Am. Express Co., 138 S. Ct. 2274, 2284
 18
      (2018) (plaintiffs must “prove that the challenged restraint has a substantial
 19
      anticompetitive effect” compared to a world in which unlawful (but not lawful)
 20
      conduct is removed).
 21
              A review of Dr. Rascher’s “but-for” worlds makes the point clear. Dr. Rascher
 22
      has offered a series of alternative constructs for the distribution of NFL Football that
 23
      he claims would generate more competition than the status quo. These “but-for”
 24
      worlds are an essential aspect of antitrust analysis—they are the benchmark that
 25
      determines whether the conduct at issue is actually anticompetitive. Each of
 26
      Dr. Rascher’s but-for worlds either (i) assumes that the NFL-Network Agreements
 27
      no longer exist, or (ii) dramatically alters them. This approach fails.
 28

                                                   6
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  1                     1.       Plaintiffs’ But-For worlds Without The NFL-Network
                                 Agreements Fail As A Matter Of Law.
  2
              Dr. Rascher offers a series of but-for worlds that eliminate the NFL’s SBA-
  3
      protected agreements with CBS and FOX. SUF ¶¶ 109–112. These worlds include
  4
                                            . Id. But-for worlds that eliminate unquestionably
  5
      lawful conduct cannot support a liability finding. Comcast, 569 U.S. at 36; Am.
  6
      Express Co., 138 S. Ct. at 2284.
  7
              These but-for worlds also fail as a matter of law because they assume that the
  8
      NFL Defendants would refrain from lawful and economically rational conduct.
  9
      Plaintiffs have conceded that in the but-for world, the NFL and its clubs
 10

 11
                                                     . SUF ¶ 98 (quoting Kilaru Decl. Ex. 30
 12
      (Elhauge Rpt.) ¶ 55), 99;
 13

 14

 15
                 ; Kilaru Decl. Ex. 13 (Rascher 6/28/23 Dep. Tr.) 48:17–49:11, 58:16–60:10;
 16
      SUF ¶ 99 (quoting Kilaru Decl. Ex. 2 (Elhauge Dep. Tr.)). It is not permissible to
 17
      rely on a but-for world that eliminates such conduct. In a “hypothetical economic
 18
      construction” such as a but-for world, “economic rationality must be assumed.”
 19
      Murphy Tugboat Co. v. Crowley, 658 F.2d 1256, 1262 (9th Cir. 1981). Liability
 20
      theories premised on conduct that is economically irrational thus cannot proceed.
 21
                        2.       Plaintiffs’ Remaining But-For Worlds Would Radically And
 22                              Improperly Transform The NFL-Network Agreements.
 23           In Dr. Rascher’s remaining but-for worlds, the NFL-Network agreements
 24   continue to exist but in an unrecognizable form. Because these but-for worlds involve
 25   rewriting agreements that are immune from antitrust scrutiny, they again improperly
 26   seek to impose liability based on conduct that cannot give rise to a claim of antitrust
 27   injury. Comcast, 569 U.S. at 36; Am. Express Co., 138 S. Ct. at 2284.
 28

                                                      7
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  1           The but-for world that                                                  makes the point. That
  2   world
  3

  4

  5                    The hypothesized                                           are both substantial and
  6   irrational. Dr. Rascher posits that
  7

  8

  9

 10

 11

 12

 13           These new conditions would                                                                  , which
 14   have long precluded conduct of the kind just described.
 15

 16                               . SUF ¶¶ 37–40. In other words, subject to specific exceptions,
 17   “what the network owns, a team cannot show separately (without the network’s
 18   permission).” Bulls I, 961 F.2d at 670. For present purposes,
 19

 20

 21

 22

 23           All of these provisions would disappear in Dr. Rascher’s but-for worlds. That
 24   is so notwithstanding Dr. Rascher’ admission that
 25

 26

 27

 28

                                                        8
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  1

  2               , Kilaru Decl. Ex. 33 (McManus Dep. Tr.) 42:20–43:3, 72:5–18; Kilaru
  3   Decl. Ex. 8 (Pietrycha Dep. Tr.) 134:15–17, 134:18–21, 145:13–14; and
  4

  5                                                                                 Kilaru Decl. Ex. 33
  6   (McManus Dep. Tr.) 82:2–83:8; Kilaru Decl. Ex. 8 (Pietrycha Dep. Tr.) 134:4–24;
  7   see also Kilaru Decl. Ex. 37 (Bornstein Dep. Tr.) 249:19–250:01.
  8           Similarly, the
  9

 10                                                       In Dr. Rascher’s but-for worlds,
 11                                                                                                     Supra
 12   at 8; SUF ¶ 120. Here too,
 13

 14

 15                                                               See SUF ¶ 139; Kilaru Decl. Ex.
 16   32 (L. Jones Dep. Tr.) 85:10–18.
 17           Plaintiffs have no basis for claiming that these
 18                    are anticompetitive and thus escape the purview of the SBA. Nothing in
 19   the SBA limits its protections to licenses granting unlimited or unconditional rights.
 20   See Bulls I, 961 F.2d at 670; accord In re Nat’l Football Leagues Sunday Ticket
 21   Antitrust Litig., 2017 WL 3084276, at *13 n.12 (C.D. Cal. June 30, 2017). The statute
 22   instead assumes that “[e]ach grant to a network will be exclusive.” Bulls I, 961 F.2d
 23   at 670. Indeed, the purpose of the SBA is to afford certain protections to sports
 24   leagues for conduct that might otherwise be found to have an anticompetitive effect.
 25   See id. (“To have any (antitrust) effect at all, the Act must allow the league to keep
 26   some games off the air . . . .”). If the SBA applied only when the League arranged
 27   for the broadcast of every game in all locations, “it is hard to see why it is cast as an
 28   exemption from the antitrust laws.” Id.
                                                    9
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  1           In short, Plaintiffs’ approach to the NFL-Network Agreements would neuter
  2   the SBA. On the one hand, the statute would grant antitrust immunity to licensing
  3   agreements that enable NFL games to appear on free over-the-air television. On the
  4   other, the statute would permit the restructuring, through antitrust litigation, of
  5

  6

  7                                        The SBA, and the immunity it provides, would have no
  8   meaning if the agreements it protects could be hollowed out so easily.
  9           C.        At Minimum, Plaintiffs’ Challenges To Horizontal Pooling Of
                        Rights Cannot Proceed Consistent With The SBA.
 10
              While judgment is warranted for the NFL Defendants on all of Plaintiffs’
 11
      liability theories, it is at minimum clear that Plaintiffs’ challenges to what they call
 12
      “pooling” conduct—i.e., the aggregation of the telecast rights of individual NFL
 13
      clubs, SUF ¶¶ 90–91, 95, 130–31, cannot proceed. That pooling occurs through the
 14
      NFL-Network Agreements, SUF ¶¶ 26–28, which are permitted by the SBA and
 15
      expressly contemplated in its adoption. Plaintiffs have identified no other agreement
 16
      in which the clubs and NFL pool their telecast rights, and none exists. An attack on
 17
      pooling is nothing more than an attack on SBA-protected contracts.
 18
              In their Complaint, Plaintiffs cited to the NFL Constitution, Kilaru Decl. Ex.
 19
      38 (Sec. Consol. Am. Compl.) ¶ 13, but that agreement assigns telecast rights to the
 20
      individual member clubs, SUF ¶¶ 6–7 (citing Kilaru Decl. Ex. 1 (NFL Const.)
 21
      §§ 10.1, 10.2). The NFL Constitution thus creates no horizontal “agreement [among
 22
      the NFL and its member clubs] not to compete with one another [and] not to create
 23
      and distribute individual team telecasts”—just the opposite. Contra Kilaru Decl. Ex.
 24
      38 (Sec. Consol. Am. Compl.) ¶ 13; see Barry v. Blue Cross of California, 805 F.2d
 25
      866 (9th Cir. 1986) (affirming summary judgment where evidence of horizontal
 26
      agreement was insufficient); Nova Designs, Inc. v. Scuba Retailers Ass’n, 202 F.3d
 27
      1088, 1092 (9th Cir. 2000) (affirming summary judgment because “membership
 28

                                                          10
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  1   alone is not proof of an agreement” and there was no “evidence of any agreement
  2   between [defendant’s] retailer members”).
  3              Plaintiffs have identified no other pooling agreement, and none exists: The
  4   only pooling that occurs relating to Sunday afternoon NFL games is in the NFL-
  5   Network Agreements. The NFL acts as an agent for each individual club in
  6   negotiating and executing those agreements, and the clubs then vote on resolutions
  7   ratifying those agreements. SUF ¶ 27. For example, NFL 1998 Resolutions BC-1 and
  8   BC-2 reflect the clubs’ approval of the NFL’s agreements with CBS and FOX that
  9   covered the 1998 to 2005 NFL seasons; the renewals were subsequently approved
 10   through resolutions passed in 2004, 2009, 2011, and 2014. Kilaru Decl. Ex. 1 (NFL
 11   Const.); see SUF ¶ 27.
 12              Plaintiffs’ allegation that there is a separate agreement to pool out-of-market
 13   telecast rights, see NFL Sunday Ticket, 2017 WL 3084276, at *3, *5, thus has no
 14   basis in the record.2 There is no horizontal conduct to challenge other than the CBS
 15   and FOX agreements, and the SBA squarely forecloses any such challenge.
 16   II.        Plaintiffs’ Claims Based On Alleged Horizontal Agreements Among The
                 NFL And The NFL Clubs Fail As A Matter Of Law.
 17
                 Plaintiffs’ challenges to the alleged horizontal or pooling conduct involving
 18
      the NFL and its member clubs also fail because producing NFL telecasts requires the
 19
      cooperation and collective action of both participating teams and the NFL. SUF
 20
      ¶¶ 16–17, 19–23. That undisputed reality precludes Plaintiffs from challenging that
 21
      conduct.
 22

 23

 24

 25

 26

 27   2
        The decision in Shaw v. Dallas Cowboys Football Club, Ltd., addressed the
 28   pleadings and thus made no findings regarding the existence of any agreement among
      the NFL clubs. See 172 F.3d 299, 299–300, 303 (3d Cir. 1999).
                                                     11
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  1           A.        The NFL And Its Member Clubs A re Properly Considered A
                        Single Entity For Purposes Of Licensing Telecasts Of Their Joint
  2                     Product, NFL Football.
  3           Because the NFL and its clubs must act cooperatively and collectively to
  4   produce NFL football and NFL football telecasts, Plaintiffs cannot satisfy the basic
  5   Sherman Act element of “concerted action that restrains trade.” Am. Needle, Inc. v.
  6   Nat’l Football League, 560 U.S. 183, 190 (2010). Under precedent that has evolved
  7   since the passage of the SBA, the clubs and the NFL are properly understood as a
  8   single entity—incapable of concerted action—for the specific purpose of licensing
  9   broadcast rights. So even if the SBA did not exist, the NFL Defendants are entitled
 10   to judgment as a matter of law on Plaintiffs’ horizontal or pooling claims.
 11                     1.       Plaintiffs Must Show Concerted Action Regarding The
 12
                                 Production Of NFL Telecasts To Challenge The Licensing
                                 Of Those Telecasts.
 13
              “Section 1 [of the Sherman Act] applies only to concerted action that restrains
 14
      trade.” Am. Needle, 560 U.S. at 190. In determining whether there is “concerted
 15
      action, “[t]he relevant inquiry . . . is whether there is a ‘contract, combination . . . or
 16
      conspiracy” amongst “separate economic actors pursuing separate economic
 17
      interests,” such that the agreement “deprives the marketplace of independent centers
 18
      of decisionmaking.” Id. at 195 (citing Copperweld Corp. v. Indep. Tube Corp., 467
 19
      U.S. 752, 769 (1984)). The key question is whether (i) “actual []or potential
 20
      competitors” exercising “independent sources of economic power” are colluding to
 21
      eliminate competition that would otherwise exist (potentially unlawful), see id. at 196
 22
      (cleaned up); Freeman v. San Diego Ass’n of Realtors, 322 F.3d 1133, 1148–49 (9th
 23
      Cir. 2003), or (ii) whether entities are engaging in necessary cooperation in pursuit
 24
      of a “common goal” (lawful), see City of Mount Pleasant v. Assoc. Elec. Co-op. Inc.,
 25
      838 F.2d 268, 276–77 (8th Cir. 1988).
 26
              The Copperweld inquiry, which was articulated in the 1980s and has been
 27
      developed since, demands “a functional consideration of how the parties involved in
 28
      the alleged anticompetitive conduct actually operate.” Am. Needle, 560 U.S. at 191.
                                                     12
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  1   A sports league in particular “looks more or less like a [single] firm depending on
  2   which facet of the business one examines,” and so courts should “ask Copperweld’s
  3   functional question . . . perhaps one facet of a league at a time.” Chicago Pro. Sports
  4   Ltd. P’ship v. Nat’l Basketball Ass’n (“Bulls II”), 95 F.3d 593, 599–600 (7th Cir.
  5   1996) (Easterbrook, J.). In other words, a court must evaluate whether there is any
  6   proof of concerted action as to the specific conduct at issue in a lawsuit.
  7           For example, where plaintiffs challenged the NFL clubs’ grant of “an exclusive
  8   license” for apparel manufacturing, the Supreme Court analyzed whether the NFL
  9   and its teams were “a single entity for § 1 purposes when it comes to the marketing
 10   of the teams’ individually owned intellectual property”; there, the “[d]irectly
 11   relevant” inquiry was whether there was potential competition between the clubs
 12   from the perspective of “a firm making hats.” Am. Needle, 560 U.S. at 197, 203–04.
 13   Similarly, where plaintiffs challenged local associations of realtors’ “decision to fix
 14   the price of the support services they sell to [their joint venture],” the Ninth Circuit
 15   considered whether those associations “function[ed] as an economic unit in providing
 16   support services.” Freeman, 322 F.3d at 1148 (emphasis added).
 17           Here, the operative question is whether the NFL and its member clubs are
 18   engaging in concerted action, or are instead a single entity, for purposes of telecast
 19   licensing. As explained below, for this purpose they are indisputably a single entity.
 20                     2.       The NFL And Its Member Clubs Are Not Engaged In
                                 Concerted Action With Respect To Licensing Telecasts Of
 21
                                 NFL Football.
 22
              Plaintiffs cannot show that the NFL Defendants are either “independent
 23
      sources of economic power” or “actual or potential competitors” in the licensing of
 24
      broadcast rights to their games. Mt. Pleasant, 838 F.2d at 276–77. The creation of
 25
      NFL game broadcasts “depends, and has always depended, on the cooperation
 26
      among” the NFL and the NFL clubs. Id. at 277. While clubs may be able to compete
 27
      with one another along other dimensions—for example, to license their own marks
 28
      and logos for use on apparel, cf. Am. Needle, 560 U.S. 183—they cannot compete to
                                                     13
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  1   produce telecasts of an NFL game because such productions cannot exist without the
  2   cooperation of the NFL and its member clubs.
  3           NFL football games cannot be played, let alone televised, absent such
  4   cooperation. Among other things, the NFL engages in multi-employer bargaining to
  5   establish processes for hiring players who comprise the member teams that compete
  6   in the games. SUF ¶ 9. It establishes the rules by which the football games between
  7   the teams are played and selects and employs officials to enforce those rules. SUF
  8   ¶¶ 8, 10–11. Seeking to maintain and grow viewership and fan interest in all NFL
  9   Football games over the season, the NFL also creates the schedule for the 272 regular
 10   season games, culminating in playoffs and the Super Bowl that averages over 100
 11   million television viewers. SUF ¶¶ 12–15.
 12           Plaintiffs have identified no way in which these ends could be achieved other
 13   than through coordination and cooperation. Nor can they. The NFL and its clubs
 14   “must cooperate in the production . . . of games,” Am. Needle, 560 U.S. at 202, as it
 15   is impossible to produce games “without agreements and joint action with every other
 16   team.” Smith v. Pro Football, Inc., 593 F.2d 1173, 1179 (D.C. Cir. 1978); see also
 17   Texaco Inc. v. Dagher, 547 U.S. 1, 6 (2006). Like the professional basketball league
 18   considered in Bulls II, only the NFL “makes professional [football]; only it can make
 19   ‘[NFL Football]’ games.” 95 F.3d at 599. As a result, “[NFL Football] is one product
 20   from a single source[.]” Id.; see also SUF ¶ 19; Kilaru Decl. Ex. 3 (Rascher Rpt.)
 21   ¶ 37; Kilaru Decl. Ex. 9 (Bernheim Rpt.) ¶¶ 39, 178.
 22           Cooperation is equally essential to producing live telecasts of those games.
 23   Plaintiffs’ lead economist admits that no NFL game broadcast can be licensed
 24   without the consent of the NFL and the participating teams. SUF ¶ 23 (citing Kilaru
 25   Decl. Ex. 13 (Rascher 6/28/23 Dep. Tr.)); see SUF ¶¶ 16–17, 22–23. That is
 26   unsurprising. As just explained, NFL broadcasts depict a product that can only be
 27   created jointly. Moreover, an NFL broadcast features not only both teams and their
 28   trademarks but also the marks of other clubs, the League’s own marks (such as the
                                                 14
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  1   NFL shield), and other intellectual property that can be licensed only by the NFL,
  2   including historical highlights and highlights from other games that are played and
  3   telecast contemporaneously. SUF ¶¶ 16–17. Further,
  4                     this cooperation contributes to the economic value of such broadcasts.
  5   SUF ¶ 20 (citing Kilaru Decl. Ex. 2 (Elhauge Dep. Tr.)).
  6              Critically, Plaintiffs have not identified a single example of a sport where
  7   teams produce different, nationally competing telecasts of a game. SUF ¶ 83. Nor
  8   have they offered a single example where a telecast of a sporting event was produced
  9   over the objection of one of the participating teams. SUF ¶ 84. These evidentiary
 10   gaps confirm that cooperation is inherent in the production of sports telecasts.
 11              The NFL and its member clubs are therefore properly considered a single
 12   entity for purposes of creating game telecasts. Products containing the intellectual
 13   property of the NFL and the clubs are “something that the individual teams do not
 14   separately own, and have never separately owned.” Spinelli v. Nat’l Football League,
 15   96 F. Supp. 3d 81, 114 (S.D.N.Y. 2015) (quoting Washington v. Nat’l Football
 16   League, 880 F. Supp. 2d 1004, 1006 (D. Minn. 2012)). The League and clubs “must
 17   cooperate to produce and sell [those products],” unlike apparel bearing the
 18   trademarks of only a single team. Id. (distinguishing American Needle).3 While
 19   Spinelli and Washington considered different products—game photographs and
 20   historical game footage—the same underlying logic holds for current game footage.
 21   As Justice Kavanaugh noted, “antitrust law likely does not require that the NFL and
 22

 23   3
       The Ninth Circuit’s dicta in Los Angeles Mem’l Coliseum Comm’n v. Nat’l Football
 24   League (“Raiders II”) that the NFL and its teams “do not operate as a single entity,”
      726 F.2d 1381, 1389 (9th Cir. 1984), does not apply to the broadcasting facet of the
 25   NFL’s business. Raiders II considered only whether the NFL could assert a single-
 26   entity defense in the specific context of team relocations. See id. at 1384–85.
      Intervening precedent since Raiders II—including American Needle and Freeman—
 27   confirms that the single-entity analysis must focus on the specific activity at issue.
 28   See Am. Needle, 560 U.S. at 203; Freeman, 322 F.3d at 1149; see also Bulls II, 95
      F.3d at 599–600.
                                                     15
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  1   its member teams compete against one another with respect to television rights.”
  2   Ninth Inning, Inc., 141 S. Ct. at 57 (statement respecting denial of certiorari).4
  3                        3.       Plaintiffs Have Failed To Offer Any Plausible Account Of
                                    How A Member Club, Acting Alone, Could Produce An
  4
                                    NFL Telecast.
  5
                 Plaintiffs offer nothing to create a genuine factual dispute as to whether NFL
  6
      clubs could telecast games on their own, such that the pooling of rights constitutes
  7
      concerted action. Plaintiffs’ appeals to economic theory and history fail to persuade.
  8
                 At the pleading stage, Plaintiffs alleged—and the Ninth Circuit accepted—that
  9
      “prior to the passage of the SBA, telecast rights in NFL games ‘were controlled by
 10
      individual teams’ and NFL teams routinely licensed telecasts of their games to
 11
      television networks.” Sunday Ticket, 933 F.3d at 1154; see also Kilaru Decl. Ex. 3
 12
      (Rascher Rpt.) ¶¶ 76–79; Kilaru Decl. Ex. 4 (Rascher Reply Rpt.) ¶¶ 176–179; Kilaru
 13
      Decl. Ex. 30 (Elhauge Rpt.) ¶ 21. But the record does not support those allegations.
 14
      NFL clubs’ historical broadcast licensing rights were assigned by agreement among
 15
      the clubs and the League, and all licensing agreements were subject to League
 16
      approval. SUF ¶ 72.
 17

 18

 19

 20

 21
                           Plaintiffs’ appeal to history actually turns out to be evidence of the
 22

 23
      4
 24     Although Plaintiffs purport also to assert a claim under Section 2 of the Sherman
      Act, that claim also relies on their allegation that the NFL clubs “agreed to
 25   consolidate all licensing rights for live video presentations of regular season NFL
 26   games into a single entity.” Kilaru Decl. Ex. 38 (Sec. Consol. Am. Compl.) ¶ 161.
      Because the NFL clubs act as a single entity for broadcast purposes, there are no
 27   separately owned broadcast rights for the NFL clubs to “consolidate.” Plaintiffs have
 28   not identified any other purportedly horizontal conduct that could constitute
      monopolization.
                                                         16
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  1   historical operation of the NFL and its member clubs as a single entity for the purpose
  2   of producing telecasts.
  3           Plaintiffs’ rebuttal expert, Professor Elhauge,
  4

  5                                                  This thinly reasoned ipse dixit cannot create
  6   a genuine issue of material fact. Professor Elhauge bases his conclusion on
  7

  8                                                                                          But telecasting,
  9   unlike radio, requires visual display of the League’s and clubs’ trademarks—thus
 10   implicating the intellectual property rights of multiple entities. See SUF ¶ 18 (citing
 11   Kilaru Decl. Ex. 2 (Elhauge Dep. Tr.) 123:11–124:3); see also Spinelli, 96 F. Supp.
 12   3d at 114; Washington, 880 F. Supp. 2d at 1006.
 13           Professor Elhauge likewise fails to create a genuine issue of fact by claiming
 14

 15                                                                                               Kilaru Decl.
 16   Ex. 2 (Elhauge Dep. Tr.) 125:7–127:5. That bizarre notion of consent ignores, among
 17   many other things, the need for the NFL’s consent to use its intellectual property in
 18   a telecast. More broadly,
 19

 20

 21                         Id. 133:3–134:17.. But that is different from suggesting that any one
 22   NFL club, standing alone, has the right to broadcast any NFL Football game played
 23   against another club.
 24           Plaintiffs’
 25                 suffers from the same deficiencies. They note, for example,
 26

 27

 28                    . E.g., Kilaru Decl. Ex. 4 (Rascher Reply Rpt.) ¶ 46; Kilaru Decl. Ex. 30
                                                      17
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  1   (Elhauge Rpt.) ¶ 23. But these assignments are also done by agreement among the
  2   relevant league and its member teams. See SUF ¶¶ 74–79. The fact that other leagues
  3   and their members agree to alternative distribution models does not reduce or
  4   eliminate the need for cooperation to distribute the games in the first place.
  5           In short, Plaintiffs have no evidence that the NFL clubs can each license
  6   broadcasts of NFL football games acting alone. Instead, the record shows that they
  7   operate as a single entity for this purpose.
  8           B.        Alternatively, Plaintiffs’ Horizontal Claims Fail Under The Rule
                        Of Reason Because They Have Not Provided Viable Proof Of
  9
                        Anticompetitive Effects.
 10
              Even if the NFL and its member clubs were not considered a single entity for
 11
      purposes of licensing broadcast rights, Plaintiffs’ horizontal claims still cannot
 12
      survive summary judgment. Cooperation that is necessary to create a product does
 13
      not unreasonably restrain competition as a matter of law. Am. Needle, 560 U.S. at
 14
      203 (citing Broad. Music, Inc. v. Columbia Broad. Sys., Inc., 441 U.S. 1, 23 (1979)).
 15
      Plaintiffs have not put forth evidence even suggesting that telecasts could be
 16
      produced without cooperation between the NFL and its clubs, so such cooperation
 17
      does not harm competition.
 18
              If the Sherman Act applies to the challenged horizontal agreements at all, such
 19
      challenges “must be judged under the Rule of Reason.” Am. Needle, 560 U.S. at 186;
 20
      see Bulls II, 95 F.3d at 599 (sports league “would be subject to the Rule of Reason
 21
      under § 1” if not considered a single firm); see also Am. Needle, 560 U.S. at 203
 22
      (restraints may be upheld under the Rule of Reason “in the twinkling of an eye”).
 23
      Under the Rule of Reason, “the plaintiff has the initial burden to prove that the
 24
      challenged restraint has a substantial anticompetitive effect that harms consumers in
 25
      the relevant market.” Am. Express, 138 S. Ct. at 2284. Summary judgment must be
 26
      granted where a plaintiff “offers no evidence of anticompetitive effects” resulting
 27
      from the challenged practice. Sumitomo Mitsubishi Silicon Corp. v. MEMC Elec.
 28
      Materials, Inc., 2007 WL 2318903, at *15 (N.D. Cal. Aug. 13, 2007), aff’d, 301 F.
                                                   18
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  1   App’x 959 (Fed. Cir. 2008); accord Jensen Enterprises, Inc. v. Oldcastle Precast,
  2   Inc., 375 F. App’x 730, 733 (9th Cir. 2010).
  3              Plaintiffs cannot meet this burden because they have not shown how NFL
  4   telecasts could be produced without the challenged cooperation and coordination
  5   among the NFL Defendants. Instead, they propose
  6

  7                                                                                           Cf. Stanislaus
  8   Food Prods. Co. v. USS-POSCO Indus., 803 F.3d 1084, 1091 (9th Cir. 2015) (“[T]he
  9   fact that POSCO did not enter a new market just to compete with its own joint venture
 10   is perfectly justifiable . . . .”). As noted above, Plaintiffs have not identified any
 11   precedent for such a ruling or any real-world example where it happens.
 12              Because no single NFL club (or even pair of clubs) could unilaterally sell the
 13   broadcasting rights to an NFL game, an agreement to act jointly in selling those rights
 14   does not reduce competition in the marketplace. See Am. Needle, 560 U.S. at 203. As
 15   Plaintiffs’ expert Professor Elhauge has written about the NFL outside the context of
 16   this litigation, “when agreements on issues like the production and scheduling of
 17   games are necessary to provide a product at all, such a powerful justification makes
 18   the agreement likely to survive Rule of Reason review. Indeed, such a conclusion
 19   seems not only likely but inevitable, because if there could be no product without the
 20   agreement, then the agreement does not restrain any competition.”5 Kilaru Decl. Ex.
 21   40 (Einer Elhauge & Damien Geradin, Global Antitrust Law and Economics ch. 6
 22   (2d ed. 2011)) p. 828. That reasoning applies on all fours to telecasts, and warrants
 23   summary judgment on Plaintiffs’ horizontal claims.
 24

 25   5
        Dr. Rascher agrees: as he explains, courts “generally have held that sports leagues
 26   are pro-competitive joint ventures necessary to create a product, such as NFL
      football.” Kilaru Decl. Ex. 39 (Daniel A. Rascher & Andrew D. Schwartz,
 27   Competitive Balance in Sports: Peculiar Economics Over the Last 30 Years, NYSBA
 28   Entertainment, Arts & Sports L. J. (2020)), at 31 n.1 (emphasis added); see also
      Kilaru Decl. Ex. 9 (Bernheim Rpt.) ¶ 177.
                                                    19
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  1   III.       Plaintiffs Do Not Have Standing To Bring Damages Claims Because
                 They Purchased Nothing From The NFL And Cannot Prove A
  2              Conspiracy Involving DirecTV.
  3              Plaintiffs must establish antitrust standing separate and apart from the central
  4   merits showing of a contract, combination, or conspiracy to restrain trade. Sunday
  5   Ticket, 933 F.3d at 1150. It is undisputed that Plaintiffs are indirect purchasers of the
  6   NFL telecasts giving rise to their claims, as they bought nothing directly from the
  7   NFL. The law is clear that indirect purchasers ordinarily lack antitrust standing to
  8   bring damages claims. Illinois Brick Co. v. Illinois, 431 U.S. 720 (1977); see Apple
  9   v. Pepper, 139 S. Ct. 1514, 1522 (2019) (describing the “bright line” Illinois Brick
 10   rule); Ninth Inning, 141 S. Ct. at 57 (statement of Kavanaugh, J., respecting denial of
 11   certiorari) (“The plaintiffs here did not purchase a product from the NFL or any team,
 12   and may therefore be barred from bringing suit against the NFL and its teams under
 13   Illinois Brick . . . .”).
 14              At the pleading stage, the Ninth Circuit concluded that the Illinois Brick rule
 15   was not applicable “because the complaint adequately alleges that DirecTV
 16   conspired with the NFL and the NFL clubs to limit the production of telecasts to one
 17   per game.” Sunday Ticket, 933 F.3d at 1158. In other words, the Court accepted as
 18   adequately pled the notion that this case involves the so-called “co-conspirator
 19   exception” to Illinois Brick.6 But allegations no longer suffice. Plaintiffs have not
 20   produced any evidence of a conspiracy between DirecTV and the NFL Teams. And
 21   the exclusive distribution agreement between the NFL and DirecTV is not a
 22

 23   6
        The Supreme Court has never considered, let alone endorsed, the so-called co-
 24   conspirator exception to Illinois Brick. On the contrary, the Court has deemed it “an
      unwarranted and counterproductive exercise to litigate a series of exceptions” to
 25   Illinois Brick’s bright-line rule. Kansas v. UtiliCorp United Inc., 497 U.S. 199, 217
 26   (1990). Even the courts that have recognized the exception have typically limited it
      to situations involving a price-fixing conspiracy, as opposed to an output-restriction
 27   conspiracy of the kind alleged here. Sunday Ticket, 933 F.3d at 1158. But the Court
 28   need not address this conflict, as Plaintiffs’ claims are barred even under the Ninth
      Circuit’s interpretation.
                                                     20
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  1   conspiracy that displaces the Illinois Brick rule. Accordingly, Plaintiffs’ damages
  2   claims cannot proceed.
  3              Legal standard for proving a conspiracy. Establishing an antitrust
  4   conspiracy requires proof that defendants had “a conscious commitment to a common
  5   scheme designed to achieve an unlawful objective.” Monsanto Co. v. Spray-Rite
  6   Serv. Corp., 465 U.S. 752, 764 (1984) (internal quotation marks omitted); see also
  7   Am. Tobacco Co. v. United States, 328 U.S. 781, 810 (1946) (requiring “a unity of
  8   purpose or a common design and understanding, or a meeting of minds in an unlawful
  9   arrangement”); Toscano v. Pro. Golfers Ass’n, 258 F.3d 978, 983 (9th Cir. 2001).7
 10              “To survive a motion for summary judgment . . . a plaintiff seeking damages
 11   for a violation of § 1 must present evidence that tends to exclude the possibility that
 12   the alleged conspirators acted independently.” Matsushita Elec. Indus. Co. v. Zenith
 13   Radio Corp., 475 U.S. 574, 588 (1986) (internal quotation marks omitted). This
 14   demanding standard is critical given that “mistaken inferences in [antitrust cases] are
 15   especially costly, because they chill the very conduct the antitrust laws are designed
 16   to protect.” Id. at 594.
 17              No evidence of a conspiracy involving DirecTV and the clubs. Plaintiffs
 18   have failed to produce any evidence of any conspiracy involving DirecTV and the
 19   clubs regarding out-of-market NFL telecasts. They have not produced any testimony
 20   or a single document even hinting that there was such a conspiracy; in fact, there is
 21   no evidence of any contact whatsoever between the clubs and DirecTV.
 22              As an initial matter, the clubs are not parties to the agreement between the NFL
 23   and DirecTV. While the NFL served as an agent for the clubs in negotiating and
 24
      7
        For their Section 2 conspiracy claims, Plaintiffs must also prove, in addition to
 25   establishing the agreement, “an overt act in furtherance of the conspiracy and “the
 26   specific intent to monopolize.” Paladin Assocs., Inc. v. Montana Power Co., 328 F.3d
      1145, 1158 (9th Cir. 2003). For reasons set forth in this section, Plaintiffs have not
 27   established a triable issue of fact as to whether the clubs had a common purpose with
 28   DirecTV whatsoever; it necessarily follows that Plaintiffs cannot establish that the
      clubs agreed with DirecTV with the specific intent to monopolize.
                                                     21
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  1   executing the NFL-Network Agreement, see supra at 11, the clubs have no similar
  2   role in the NFL-DirecTV agreement, which involves the licensing of copyrights
  3   exclusively held by the NFL, see SUF ¶¶ 44–46. The clubs do not become “co-
  4   conspirators” to that vertical agreement simply because they pooled their broadcast
  5   rights at the League level in a different, earlier SBA-protected agreement.
  6           The only evidence of involvement
  7

  8

  9                                        But this conduct does not establish a conspiracy between
 10   DirecTV and the clubs. The record is undisputed that
 11

 12

 13

 14                                        45:22–46:9
 15                                                                            Kilaru Decl. Ex. 42 (J. Jones
 16   Dep. Tr.) 17:16–18:4
 17

 18           No evidence of a conspiracy involving DirecTV and the NFL. Nothing
 19   about the NFL’s agreement with DirecTV proves the latter’s “conscious commitment
 20   to a common scheme designed to achieve an unlawful objective.” Monsanto, 465
 21   U.S. at 764. The existence of an exclusive distribution agreement is not evidence of
 22   the anticompetitive conspiracy Plaintiffs alleged at the pleading stage.
 23           Exclusive licenses are a common, legal way for enterprises to distribute their
 24   intellectual property. The Copyright Act explicitly contemplates exclusive licenses.
 25   See 17 U.S.C. § 201(d)(2); see also, e.g., Corbello v. DeVito, 777 F.3d 1058, 1062
 26   (9th Cir. 2015). The Lanham Act likewise authorizes trademark holders to license
 27   their marks, see 15 U.S.C. § 1060, including through exclusive licenses, see 2 Gilson
 28   on Trademarks § 6.03 (2023). And the same analysis applies to copyright licenses.
                                                            22
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  1   Data Gen. Corp. v. Grumman Sys. Support Corp., 36 F.3d 1147, 1187 (1st Cir. 1994)
  2   (“[A]n author’s desire to exclude others from use of its copyrighted work is a
  3   presumptively valid business justification for any immediate harm to consumers.”),
  4   abrogated on other grounds by Reed Elsevier, Inc. v. Muchnick, 559 U.S. 154 (2010).
  5              The Sunday Ticket agreement is a standard exclusive licensing agreement.
  6

  7                         See SUF ¶¶ 60–61
  8                                                                                                            Nor is
  9   there any evidence of a separate, unlawful agreement as to price or output.
 10

 11   See SUF ¶¶ 66                                                                          67
 12                                                                   68
 13                                      The record contains no evidence of the NFL providing any
 14   direction to DirecTV or any form of control as to price.
 15              Nor is there evidence to suggest that DirecTV was involved in any conspiracy
 16   to limit output. Plaintiffs have suggested that the NFL and DirecTV conspired to not
 17   offer a single-team package of out-of-market games. But
 18

 19

 20                                             .8 SUF ¶¶ 60–61.
 21
      8
 22       Plaintiffs’ efforts to cherry-pick deposition testimony to suggest otherwise fail.

 23

 24                      One witness stated only that
                                                                                                         See Kilaru
 25   Decl. Ex. 15 (Rolapp Dep. Tr.) 121:2–10. The second clarified that
 26
      See Kilaru Decl. Ex. 41 (Kraft Dep. Tr.) 47:2–5. A different NFL witness testified
 27   that
 28                                           See Kilaru Decl. Ex. 10 (Lawton Dep. Tr.)
      34:4–9. As explained above,
                                                          23
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  1           For all these reasons, Plaintiffs’ unsupported assertion of a “single conspiracy”
  2   involving DirecTV is an improper and unsupported attempt to evade Illinois Brick.
  3   IV.     Plaintiffs’ Claims Based On The Vertical Agreement Between The NFL
              And DirecTV Fail As A Matter Of Law.
  4
              The foregoing sections leave Plaintiffs challenging—at most—the NFL’s
  5
      vertical conduct, namely its exclusive distribution of Sunday Ticket. But that
  6
      challenge fails as well. Most fundamentally, Plaintiffs have provided no evidence—
  7
      expert or otherwise—that this vertical conduct is anticompetitive. Nor would the
  8
      record support any such claim.
  9
              As an initial matter, “[t]he mere existence of an exclusive deal between the
 10
      [NFL] and its licensee[] does not violate the antitrust laws or significantly threaten
 11
      competition.” Parrish v. Nat’l Football League Players Ass’n, 534 F. Supp. 2d 1081,
 12
      1092 (N.D. Cal. 2007). Thus, the Southern District of New York rejected the
 13
      argument that the NFL and the clubs’ limited exclusive licensing arrangements with
 14
      stock photo agencies violated the Sherman Act. See Spinelli, 96 F. Supp. 3d at 116–
 15
      19 (S.D.N.Y. 2015). As “the benefits of exclusive licensing agreements are well-
 16
      recognized,” such arrangements are “‘presumptively legal.’” Id. at 116 (quoting E &
 17
      L Consulting, Ltd. v. Doman Indus. Ltd., 472 F. 3d 23, 30 (2d Cir. 2006)); see also,
 18
      e.g., Levi Case Co. v. ATS Prod., Inc., 788 F. Supp. 428, 432 (N.D. Cal. 1992) (“[An]
 19
      exclusive license, by itself, does not constitute an illegal restraint under the antitrust
 20
      laws.”). The law could hardly be otherwise, given how ubiquitous such exclusive
 21
      licensing is in the entertainment industry, including television and film.
 22
              After extensive discovery, Plaintiffs have failed to identify any evidence that
 23
      could transform a lawful exclusive distribution agreement into an unlawful antitrust
 24
      conspiracy.
 25

 26
                            SUF ¶¶ 60–61, 70–71.
 27

 28

                                                   24
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  1           Nor can Plaintiffs offer evidence that these agreements restrained competition.
  2   Prior to 1994, the NFL-Network Agreements did not permit the distribution of
  3   telecasts of Sunday afternoon NFL games beyond those broadcasted in-market by
  4   CBS and FOX. SUF ¶¶ 54–55.
  5

  6

  7

  8                                                           the NFL enter into an exclusive
  9   agreement with DirecTV to distribute out-of-market game telecasts that were not
 10   previously available to viewers, allowing access to those games for the first time.
 11   SUF ¶ 56. Thus, “output of out-of-market [NFL] games increased by virtue of
 12   [Sunday Ticket], rather than decreased.” Kingray, Inc. v. NBA, Inc., 188 F. Supp. 2d
 13   1177, 1195 (S.D. Cal. 2002).
 14           Just as the NFL did not violate the antitrust laws prior to licensing the rights to
 15   distribute telecasts of its out-of-market games, it did not violate the antitrust laws by
 16   licensing those rights exclusively to DirecTV. See Fleer Corp. v. Topps Chewing
 17   Gum, Inc., 658 F.2d 139, 153 (3d Cir. 1981) (“[A]s a licensor, the MLBPA is free to
 18   grant licenses to any competitor, or none at all.”); Spinelli 96 F. Supp. 3d at 116
 19   (“[A]n exclusive license is something that the NFL can legally achieve without the
 20   aid of a licensee.” (citing E & L Consulting, Ltd. v. Doman Indus. Ltd., 472 F.3d 23,
 21   30 (2d Cir. 2006))). There is no principle of law that suggests that if a copyright
 22   holder wants to license its intellectual property, it must take all comers. On the
 23   contrary, the creation of Sunday Ticket is the kind of output-expanding, pro-
 24   consumer offering that the antitrust laws encourage.
 25                                        CONCLUSION
 26           The Court should grant summary judgment in favor of the NFL Defendants.
 27

 28

                                                   25
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                                               26
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